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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                              CASE NO. 1:01-cr-00016-MP-AK

RUBEN DIAZ,

      Defendant.
___________________________/

                                            ORDER

       This matter is before the Court on Doc. 255, Motion Requesting Attorney J. Uman to

Relinquish File, filed by Ruben Diaz. Previously, Mr. Diaz sent Mr. Uman a letter asking for his

case file. Mr. Diaz never received the materials and filed the motion at doc. 255. Mr. Uman

filed a response in which he noted that he had, in fact, sent the materials to Mr. Diaz' prison via

UPS, but that the materials were refused "by the recipient." Mr. Diaz then replied to the

response by saying that it was not him that refused the UPS shipment but the prison, which only

accepts US Post office deliveries. Mr. Uman then filed a notice that he was re-sending the

materials by US Post office. The matter has thus been resolved, but the motion at doc. 255 is

still technically pending. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       The motion requesting the file (doc. 255) is denied as moot.

       DONE AND ORDERED this 18th day of May, 2005


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
